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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF NEW YORK


CHRISTOPHER GODSON, on behalf of
himself and all others similarly situated,
                                                           No. ll-CV-764(EAW)(HKS)
                               Plaintiff,
                vs.                                        CLASS ACTION


ELTMAN, ELTMAN & COOPER, P.e. and
LVNV FUNDING, LLC,

                               Defendants.


                                 AFFIDAVIT OF BAILEY HUGHES
STATE OF ILLINOIS, COUNTY OF COOK

.I, Bailey Hughes, under penalty of peIjury affirm that the following statements are true:

   1. I am over eighteen (18) years of age, and am fully competent to give this affidavit.

   2. I am a Case Manager at First Class, Inc., and have personal knowledge of this matter.

   3. First Class, Inc., a Class Action Administration Service, was appointed as the Class Settlement
       Administrator in this matter, and is not a party to this action.

   4. The class list was received from Nabil Foster of Hinshaw & Culbertson LLP, and contained
       270 records.

   5. Prior to mailing the notice to the individuals on the class mailing list, First Class, Inc. followed
       its standard practice of processing the list through the Coding Accuracy Support System
       (CASS) and the NCOA (National Change of Address) update process of the U.S. Postal
       Service using software certified by the U.S. Postal Service. CASS allows First Class, Inc. to
       verify the address is correctly formatted for delivery and corrects zip codes. NCOA Move
       Update provides current address information, if available, and information regarding
       deliverability.

   6. Prior to mailing the notice to individuals on the class mailing list, First Class, Inc. followed its
       standard practice of checking for and removing exact duplicate records within the class list,
       and in this case, no exact duplicates were found.

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7. The notices were mailed on June 8, 2018 to 270 class members.

8. The notices were mailed via First Class mail, postage prepaid, with Forwarding Service
   Requested.

9. As of September 4, 2018, a total of39 notices were returned as undeliverable with no
   forwarding address or further information provided by the U.S. Postal Service.

10. As of September 4,2018, a total of 1 notices was returned by the U.S. Postal Service with a
   new address and remailed.

11. First Class, Inc. attempted to locate new addresses for the 39 notices which were returned as
   undeliverable by the U.S. Postal Service using the LexisNexis Accurint locate service. First
   Class, Inc. found new addresses for 20 of the records searched and remailed notice to them. Of
   those, 4 were again returned as undeliverable.

12. As of September 4,2018, a total of23 notices were ultimately returned as undeliverable by the
   U.S. Postal Service with no forwarding address or further information provided by the U.S.
   Postal Service, and no additional address searches performed.

13. As of September 4, 2018, no objections have been received by First Class, Inc.

14. As of September 4, 2018, no requests for exclusion have been received by First Class, Inc.

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                                          NOTARYP


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                                                      LONNA BSTREIGHT-SCHULZ
                                                      NOTARY PUBLIC -STATE OF IUlNOIS
                                                       MY COMMISSION EXPIRES:08I18122



                                          SWORN TO AND SUBSCRIBED before me this

                                             /1 -(1---. day of ~~'"1-~2018 by Bailey
                                          Hughes of First Class nco




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